8:04-cr-00164-RGK-CRZ        Doc # 386      Filed: 10/21/11    Page 1 of 1 - Page ID # 1473




                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                   )
                                            )
                     Plaintiff,             )                     8:04CR164
                                            )
              v.                            )
                                            )
PEDRO MORALES,                              )         MEMORANDUM AND ORDER
                                            )
                     Defendants.            )
                                            )


       Pedro Morales asks me to reconsider the denial of his § 2255 motion. I have done so.

       On this limited record, I agree with Morales that (despite the long and suspicious
delay) the prison mailbox rule applies in this case because his original motion was dated
within the statute of limitations period and because the motion was signed under penalty of
perjury. See Towns v. United States, 190 F.3d 468, 469 (6th Cir.1999) (motion to vacate
sentence was timely filed under prison mailbox rule when signed under penalty of perjury
one day prior to expiration of one-year filing deadline under Antiterrorism and Effective
Death Penalty Act, indicating that it was timely delivered to prison mail room employees,
even though not accompanied by certificate of service). Nonetheless, the second reason for
the dismissal was that Morales’ ineffective assistance of counsel claim (predicated on Rule
6 of the Federal Rules of Criminal Procedure) had no merit. That decision remains correct
and no further elaboration of that decision is necessary. (See filing no. 383.)

       IT IS ORDERED that:

       1.     The motion for reconsideration (filing no. 385) is granted in part and denied
              in part as provided below.

       2.     There is an insufficient basis for concluding that defendant’s § 2255 motion
              was untimely, but, for the second reason expressed in the original decision, that
              motion had no merit. Morales is not entitled to relief.

       DATED this 21 st day of October, 2011.
                                                          BY THE COURT:
                                                          Richard G. Kopf
                                                          United States District Judge
